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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   Ms. L.; et al.,                                       Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING STATUS
13   v.                                                    CONFERENCE
14   U.S Immigration and Customs
     Enforcement (“ICE”); et al.,
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                         Respondents-Defendants.
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18         A status conference was held on August 24, 2023. After consulting with counsel
19   and being advised of the status of the case, IT IS HEREBY ORDERED:
20   1.    A further status conference shall be held on October 20, 2023, at 11:30 a.m. The
21   dial-in number for any counsel who wish to listen in only and members of the news media
22   is as follows.
23         a.       Dial the toll free number: 571-353-2301;
24         b.       Enter the Access Code: 151416184 (Participants will be put on hold until the
25                  Court activates the conference call);
26   Members of the general public may attend in person. All persons dialing in to the
27   conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
28   proceedings.

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                                                                               18cv0428 DMS (MDD)
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 1   2.    The next Joint Status Report shall be filed on or before 3:00 p.m. on October 18,
 2   2023. Counsel shall include an update on the status of reunifications for the recently
 3   enlarged class, (see ECF No. 684), and any children placed in state foster case dealing with
 4   situations similar to the one discussed during the status conference.
 5   Dated: August 25, 2023
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